         Case 4:20-cv-02058-ACA                  Document 354-9              Filed 03/03/25      Page 1 of 2                FILED
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                                                                                                                   U.S. DISTRICT COURT
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        To:      Brown, Steve (DOC)[Steve.Brown@doc.alabama.gov]; Mercado, Arnaldo
        (DOC)[ArnaIdo.Mercado©doc.aIabama.gov; Watson, Steve (DOC)[Steve.Watson@doc.alabama.gov]
        Cc:      Watson, Steve (DOC)[Steve.Watsondoc.aIabama.govj
        From:    Culliver, Grantt (DOC)
        Sent     Sun 3/18/2018 7:35:07 PM
        Subject: Re: Recommendations from the St. dali assessment

         Thanks

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        From: Watson, Steve (DOC)
       Sent: Sunday, March 18, 2018 8:23:05 PM
       To: Brown, Steve (DOC); Culliver, Grantt (DOC); Mercado, Arnaldo (DOC)
       Cc: Watson, Steve (DOC)
       Subject: Recommendations from the St. Clair assessment


        Chief,


        Pursuant your directive to recommend acourse of corrective action based on the recent St. Clair
        Operational Assessment Report:


        There is no doubt that rectiing the CO staffing problem at St. Clair is essential, as it impacts most
        every aspect of inferior performance noted in the report. The mindset from chronic shortage apparently
        has become a"rationalization crutch" for all levels of St. Clair stag and it stands to reason why that
        has occurred. Since staffing is an ongoing issue that is not likely to be corrected anytime soon, sound
        measures of "working with what we have" simply has to be the method of operation.

        -If no competing reasons not to, step up the scheduled IG security audit of St. Clair so that atrue, in-
        depth analysis of basic corrections components can be measured.
        -Develop awritten action plan to address each issue, prioritized. Time to correct/milestones, and
        responsible party( es), should be identified and held accountable.
        -Modi fythe Organization Chart such that key areas are monitored at the proper level without
        administratively over-burdening the Warden III, and providing support to the Warden II and Warden
        I. The
         Warden II and Warden Ishould be empowered to address certain issues while still keeping the III
        informed.
        -As the leadership change already in progress is planned, the new leadership should be apan of the
        plan to correct the deficiencies.
        -Break out the action items which are "Engineering" issues, or procurement issues, from policy and
        enforcement. Free the Wardens up to deal with basic corrections fundamentals which are lacking,
        training,
         managing, monitoring, mentoring, and morale.
        -Correct the facility staff/visitor/volunteer entrance issue (hardware and policy enforcement). Follow
        the SOP.
        -Give full attention to the perimeter lighting issue, and authorize the means to correct.
        -Give consideration to aChief of Security, but this should already be happening with the current
        structure now as in other facilities which are performing in abetter manner. Fundamentals of security
        should


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        Case 4:20-cv-02058-ACA                Document 354-9            Filed 03/03/25         Page 2 of 2




          be addressed (count procedures, searches, perimeter fence checks, interior inspections, contraband
        control, key control, tool control, etc.). The security audit will give even more detail to the
        information in
          the report).
        -Give frill consideration to installation of anew, robust video camera solution, with proper anti-
        vandalism features. In the short term, identi f  yremedial effort to acquire new cameras to replace the
        ones which
          have been vandalized and any additional protective measures available should be considered.
        -Wardens and Captains should stagger schedules to provide for periodic night/weekend visits and walk-
        throughs. It is not necessary to cover every bit of that time, but visits should be regular and routine.
        -The recommendation that the institution go into lock-down mode when short-staffed should be
        considered very carefully. It appears that the institution would be in near lock-down at all times which
        will
          build tension in and of itself, and be counter-productive. However, rotating recreation movement and
        tier rotation in dayrooms could be aworkable alternative, and should be examined.
        -Updated SOPs are important to capture the changing environment of an institution. However, policy
        is simply policy if the staff is not following them. Some of the SOPs are being updated as aresult of
        the
          Duke settlement agreement, and represent a"large' change that necessitates anew/revised SOP.
        Sound existing policy is probably present for most of the facility's operation, and updating that may
        need to
         wait as the most pressing items of the action plan are given the finite resources.
        -Written directives and information dissemination from Lieutenants/Sergeants to the COs should be
        provided, since the Wardens validated that there are problems in that area. Not having ashift briefing
        has
         eliminated aprime opportunity to do that, but if the briefing is in writing, the COs could sign off
        during walk-throughs by their supervisors.

        The issue concerning "annual perimeter light replacement" should be removed from the report if this is
        not the case. Open P0 with the vendor to provide the lift truck is necessary, if an MOU with astate or
        local entity is not available to assist in routine fashion to meet the need.

        Thanks,




        Steve Watson
        Associate Commissioner        -




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